           Case 3:22-cv-00493-BJD-LLL Document 6 Filed 05/04/22 Page 1 of 4 PageID 97

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                     Middle District
                                                 __________ District of
                                                                     of Florida
                                                                        __________

        Jacksonville Branch of the NAACP, et al.,                 )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )                          3:22-cv-00493-BJD-LLL
                                v.                                        Civil Action No.
                                                                  )
                 City of Jacksonville, et al.,                    )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) City of Jacksonville
                                       Office of General Counsel
                                       117 West Duval Street, Suite 480
                                       Jacksonville, FL 32202




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Nicholas Warren
                                       ACLU Foundation of Florida, Inc.
                                       336 East College Ave, Suite 203
                                       Tallahassee, FL 32301



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT
                                                                                                     JessicaRoden

Date:        May 4, 2022
                                                                                       Signature of Clerk or Deputy Clerk
            Case 3:22-cv-00493-BJD-LLL Document 6 Filed 05/04/22 Page 2 of 4 PageID 98

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:22-cv-493

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
           Case 3:22-cv-00493-BJD-LLL Document 6 Filed 05/04/22 Page 3 of 4 PageID 99

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                     Middle District
                                                 __________ District of
                                                                     of Florida
                                                                        __________

        Jacksonville Branch of the NAACP, et al.,                 )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 3:22-cv-00493-BJD-LLL
                                                                  )
                 City of Jacksonville, et al.,                    )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mike Hogan
                                       Duval County Supervisor of Elections
                                       105 East Monroe Street
                                       Jacksonville, FL 32202




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Nicholas Warren
                                       ACLU Foundation of Florida, Inc.
                                       336 East College Ave, Suite 203
                                       Tallahassee, FL 32301



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT
                                                                                                    JessicaRoden

                   4, 2022
Date:
                                                                                      Signature of Clerk or Deputy Clerk
           Case 3:22-cv-00493-BJD-LLL Document 6 Filed 05/04/22 Page 4 of 4 PageID 100

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:22-cv-493

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

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                                                                 , a person of suitable age and discretion who resides there,
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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
